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   EXHIBIT “P”
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  From: GARY LIGHTMAN garylightman@lightmanlaw.com
Subject: Fwd: Zekaria Deposition 5/28/24
   Date: May 22, 2024 at 11:07 PM
     To: Patrick Healey phealey@rebarkelly.com
   Cc: Kim DiTomaso kditomaso@lightmanlaw.com, Glenn Manochi gmanochi@lightmanlaw.com, GARY LIGHTMAN ltag8r@me.com



      Patrick,

      We have afforded you every courtesy, but our patience is at an end.

      If we don’t receive the February 2022 Zekaria retainer/escrow
      agreement by tomorrow, then (1) we will proceed with the Zekaria
      deposition on May 28, as re-scheduled in accordance with the Rules
      of Court, absent a Court Order to the contrary; and (2) we will be filing
      a Motion for Contempt, and (3) we will be filing a second Motion for
      Contempt, due to Zekaria’s failure to produce all responsive
      documents and full and complete answers without objection to
      plaintiff’s discovery requests served on the Zekaria Defendants,
      including the February 2022 Zekaria retainer/escrow agreement. We
      will be filing said Motions asap, which will force you to file a response
      prior to the 6/13 hearing on your Motion to Withdraw.

      All of that can be avoided simply by producing for us, by tomorrow,
      the February 2022 Zekaria retainer/escrow agreement.

      If Zekaria can’t (or claims she can’t) locate the physical paper
      February 2022 retainer/escrow agreement that Zekaria swore under
      oath in her deposition that she printed out and has somewhere among
      the documents in her office, then just have her print out another copy
      of it from her phone or computer, and email it to us, or even better, just
      forward Zekaria’s email or text with the attached draft that she sent to
      Gary Weiss, to us directly. If she cannot or will not do that, then
      contact us, asap, so we can make arrangements for an IT technician
      to examine Zekaria’s phone and computer for that document, as well
      as for the other responsive documents that the Court ordered her to
      produce, which to date she has not produced.

      Your choice. Produce the doc by tomorrow, and we will agree to re-
      schedule the 5/28 depo, and wait until the 6/13 hearing to file
      contempt motions. Or else Zekaria will have several contempt motions
      to deal with (for refusing to appear for properly scheduled depos, and
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to deal with (for refusing to appear for properly scheduled depos, and
for refusing to comply with court orders to produce all responsive
discovery without objection, etc).

Your choice. We look forward to receiving an email from you by
tomorrow.

thx
Gary Lightman
cell 215-760-3000

KDT, pls dy for 5/23 and send me draft of contempt motions to file on
5/24, if Healey doesn’t send us the doc we want by 5/23 tg


 Begin forwarded message:

 From: GARY LIGHTMAN <garylightman@lightmanlaw.com>
 Subject: Fwd: Zekaria Deposition 5/28/24
 Date: May 15, 2024 at 9:26:53 AM EDT
 To: Patrick Healey <phealey@rebarkelly.com>

 SETTLEMENT COMMUNICATION

 Patrick,

 Notwithstanding our below email to you, and as we previously
 informed you, we do NOT wish to put you personally in an untenable
 position, vis-a-vis your representation of the Zekaria Defendants and
 your pending Motion to Withdraw (returnable on 6/13).

 SO, if you (1) produce the February 2022 retainer/escrow agreement
 for us by Friday, and (2) give us firm dates between June 14-30 when
 Zekaria is available to be deposed, then we will agree to re-schedule
 the 5/28 deposition to one of those June dates.

 pls lmk

 thx
 Gary Lightman
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Gary Lightman
cell 215-760-3000

PS, Zekaria should be searching for replacement counsel, now — is
she looking for replacement counsel? Does she need some names
of potential replacement attorneys? pls lmk thx

 Begin forwarded message:

 From: GARY LIGHTMAN <garylightman@lightmanlaw.com>
 Subject: Re: Zekaria Deposition 5/28/24
 Date: May 15, 2024 at 9:17:14 AM EDT
 To: Patrick Healey <phealey@rebarkelly.com>
 Cc: "Laver, Seth L." <slaver@goldbergsegalla.com>, Joseph Ross
 <jross@goldbergsegalla.com>, Gary Weiss
 <wgary4109@gmail.com>, sam gross
 <charltonholdinggroupllc@aol.com>, Sam Gross
 <Scg1212@gmail.com>, Kim DiTomaso
 <kditomaso@lightmanlaw.com>, Glenn Manochi
 <gmanochi@lightmanlaw.com>, Cathleen Kelly Rebar
 <crebar@rebarkelly.com>, Kathy Ciesielka
 <kciesielka@rebarkelly.com>, Michael Rebar
 <mrebar@rebarkelly.com>, GARY LIGHTMAN <ltag8r@me.com>

 Patrick,

 In response to your below email:

 You have continually failed to provide us with a date for Zekaria’s
 deposition, despite repeated requests for you to give us available
 dates, forcing us to select the 5/14 deposition date on our own. And
 there is nothing improper in continuing with the lawsuit,
 notwithstanding your Motion to Withdraw. And you did just
 unilaterally fail to produce Zekaria for her deposition as properly
 scheduled on May 14, pursuant to the Rules of Court.

 We have properly re-scheduled the Zekaria deposition for May 28,
 pursuant to the Rules of Court. If you want to move the 5/28 date of
 Zekaria’'s deposition, then (1) please tell us why Zekaria is not
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Zekaria’'s deposition, then (1) please tell us why Zekaria is not
available on 5/28, and (2) let us know which of the following dates
work for her deposition: May 22, 23, 24, 30. Otherwise, we intend
to move forward with the Zekaria deposition on 5/28 as scheduled,
absent a Court Order to the contrary.

Please be guided accordingly.

thx
Gary Lightman
cell 215-760-3000

cc: all counsel/parties


 On May 15, 2024, at 8:00 AM, Patrick Healey
 <phealey@rebarkelly.com> wrote:

 Gary:

 Just to correct the misstatement that you have made. The Zekaria
 Defendants did not "fail to appear" for depositions on May 14,
 2024. We had informed you on May 6, 2024 that we were
 unavailable for a for a deposition on May 14. Just because you
 unilaterally pick dates for depositions does not mean that others
 are necessarily available. We are also not available on May 28 for
 a deposition. Again, as we stated before, it is improper for you to
 schedule the depositions of the Zekaria defendants while our
 Motion to withdraw is pending and is scheduled for a hearing.

 Pat Healey



 Patrick J. Healey
 Partner
 256 West 36th Street
 Suite 900
 New York, New York 10018
 212.858.9970 | Fax 212.858.9971
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212.858.9970 | Fax 212.858.9971
C: 215.266.4879
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W: www.rebarkelly.com



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203.564.1971 | eFax: 888.761.8299

OHIO
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Columbus, OH 43219
614.245.2141 | eFax: 888.761.8299



-----Original Message-----
From: Gary Lightman <garylightman@lightmanlaw.com>
Sent: Wednesday, May 15, 2024 12:03 AM
To: Patrick Healey <phealey@rebarkelly.com>
Cc: Laver, Seth L. <slaver@goldbergsegalla.com>; Joseph Ross
<jross@goldbergsegalla.com>; Gary Weiss
<wgary4109@gmail.com>; sam gross
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 <wgary4109@gmail.com>; sam gross
 <charltonholdinggroupllc@aol.com>; Sam Gross
 <Scg1212@gmail.com>; K. DiTomaso
 <kditomaso@lightmanlaw.com>; G. Manochi
 <gmanochi@lightmanlaw.com>; GARY LIGHTMAN
 <ltag8r@me.com>
 Subject: Zekaria Deposition 5/28/24

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 sender and know the content is safe.

 We are pleased to announce that our New York office has
 relocated, and therefore our address has changed.

 Please note, our New York office address is now:

 256 West 36th Street
 Suite 900
 New York, NY 10018



—
Gary Lightman, Esquire
LIGHTMAN & MANOCHI
cell: 215-760-3000
email: garylightman@lightmanlaw.com and Ltag8r@me.com


LIGHTMAN & MANOCHI
600 West Germantown Pike, Suite 400
Plymouth Meeting, PA 19462
Phone: (215) 545-3000

New Jersey:
Phone: (856) 795-9669 (ext. 107); fax (856) 795-9339

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